
*The Court,
viz., Sedgwick, Sewall and Thacker, [ * 480 ] justices, without hearing an .argument, reversed the judgment ; and the only question submitted to the consideration of the *358Court was, whether the plaintiff in error should recover costs upon the writ of error. The Court took time to consider; and after-wards, in this term, determined that the plaintiff in error should recover no costs; because it did not appear that the original plaintiff knew that the defendant was an infant at the time of the recovery of the judgment. And although where judgment is reversed for error in fact, the Court have sometimes allowed costs, yet it has been only in those cases where there had been some fault m the plaintiff; which does not appear to be the case here.

Judgment reversed.

